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Today, the first 238 members of the Venezuelan criminal organization,

Tren de Aragua, arrived in our country. They were immediately @ Sign
transferred to CECOT, the Terrorism Confinement Center, for a period of
one year (renewable). Creat

The United States will pay a very low fee for them, but a high one for us. By signing up, you agre
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and labor under the Zero Idleness program, will help make our prison
system self-sustainable. As of today, it costs $200 million per year. Something wel

On this occasion, the U.S. has also sent us 23 MS-13 members wanted
by Salvadoran justice, including two ringleaders. One of them is a

member of the criminal organization’s highest structure. . .
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This will help us finalize intelligence gathering and go after the last

remnants of MS-13, including its former and new members, money,
weapons, drugs, hideouts, collaborators, and sponsors.

As always, we continue advancing in the fight against organized crime.
But this time, we are also helping our allies, making our prison system
self-sustainable, and obtaining vital intelligence to make our country an
even Safer place. All in a single action.

May God bless El Salvador, and may God bless the United States.

lf

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